IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

UNITED STATES OF AMERICA, _ )
Plaintiff,

2, ) C.A. No. 20-1744-CFC
WALMART INC. AND WAL-MART )
STORES EAST, LP, )
Defendant.
)

 

STIPULATION AND [PROPOSED{ ORDER REGARDING BRIEFING ON
DEFENDANT’S MOTION TO DISMISS

WHEREAS, Plaintiff United States of America (“the United States’) filed a
196-page, 772-paragraph Amended Complaint against Walmart Inc. and Wal-Mart
Stores East, LP (collectively “the Defendants”), seeking to impose civil penalties
and injunctive relief under the Controlled Substances Act (“CSA”);

WHEREAS, the parties have conferred and agreed, subject to approval by the
Court, that based on the complexity of the issues raised in the Complaint and their
experience briefing complex issues in other matters, an enlargement of the time to
submit briefs and of the word limit is appropriate with respect to briefing related to
the forthcoming motion to dismiss;

WHEREAS, the original Complaint (D.I 1) contained 160 pages and 710

paragraphs and, in connection with briefing Defendants’ Motion to Dismiss the

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Complaint, the parties entered into, and the Court approved, timing and word count
limits for the briefing (D.I. 22); and

WHEREAS, the parties have conferred and agreed, subject to the Court’s
approval, to a modified schedule for timing and word limits to reflect the additional
allegations contained in the Amended Complaint;

IT IS HEREBY STIPULATED AND AGREED, by and between the parties,
subject to the approval of the Court, that briefing on Defendants’ motion to dismiss
shall proceed as follows:

1. Defendants shall file a single opening brief in support of their motion
that shall not exceed 9,000 words (exclusive of the cover page, table of
contents, table of authorities, and signature block) on or before
November 7, 2022.

2. The United States shall file an answering brief that shall not exceed
9,000 words (exclusive of the cover page, table of contents, table of
authorities, and signature block) on or before January 6, 2023.

3. Defendants shall file a reply brief in support of their motion that shall
not exceed 4,500 words (exclusive of the cover page, table of contents,

table of authorities, and signature block) on or before February 6, 2023.

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Dated: October 7, 2022

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SO ORDERED this //"“Uay of frAds_ 2022

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Chief United States Distrit Court Judge
